

People v Martinez (2018 NY Slip Op 06465)





People v Martinez


2018 NY Slip Op 06465


Decided on September 28, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 28, 2018

PRESENT: WHALEN, P.J., SMITH, CENTRA, PERADOTTO, AND CARNI, JJ. (Filed Sept. 28, 2018.)


KA 14-00583.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, V
vJOSEPH E. MARTINEZ, ALSO KNOWN AS JOHN DOE, DEFENDANT-APPELLANT. 

Motion to dismiss granted. Memorandum: The matter is remitted to Supreme Court, Monroe County, to vacate the judgment of conviction and dismiss the indictment either sua sponte or on application of either the District Attorney or the counsel for defendant (see People v Matteson , 75 NY2d 745 [1989]).








